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   IT IS ORDERED as set forth below:



   Date: November 9, 2020
                                                         _________________________________

                                                                    Sage M. Sigler
                                                             U.S. Bankruptcy Court Judge

  ________________________________________________________________

                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                              §      CHAPTER 7
                                                     §
 AMERICAN UNDERWRITING                               §      Case No. 18-58406-SMS
 SERVICES, LLC,                                      §
                                                     §
          Debtor.                                    §

      ORDER APPROVING MOTION FOR APPROVAL OF COMPROMISE AND
     SETTLEMENT BETWEEN TRUSTEE AND GILLEN, WITHERS & LAKE, LLC

          This matter is before the Court on the Motion For Approval of Compromise and Settlement

 Between Trustee and Gillen, Withers & Lake, LLC (the “Motion”) (Docket 224) filed by S.

 Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of

 American Underwriting Services, LLC, Debtor (the “Debtor” or “AUS”) in the above captioned

 case (the “Case”). The Motion seeks entry of an order, pursuant to Section 105(a) of Title 11 of

 the United States Code, 11 U.S.C. §§ 101, et seq. (the "Bankruptcy Code") and Rule 9019(a) of




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 the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), approving a Settlement1

 by and between the Trustee and Gillen, Withers & Lake, LLC (collectively, the “Parties”).

        Following notice to all creditors and parties in interest entitled to notice, no objection was

 filed in opposition to the Motion. The Court held a hearing on the Motion on October 21, 2020, at

 which no creditor or party in interest appeared to oppose the Motion. Upon the Court having

 reviewed and considered the Motion, the record in this Case, and the arguments at the hearing on

 the Motion, the Court determined that: 1) the relief requested in the Motion is in the best interests

 of the Debtor, the Estate, its creditors and other parties in interest; 2) the Court has jurisdiction

 over this proceeding; 3) this is a core proceeding; 4) notification of the relief granted by this Order

 is fair and reasonable; 5) due and proper notice of the Motion was given and such notice is good

 and sufficient under the particular circumstances; and 6) good and sufficient cause exist for the

 relief requested in the Motion, for the entry of this Order, and approval of the Settlement. Finding

 that no further notice or opportunity for hearing is required, for good cause shown, is it hereby

 ORDERED as follows:

        1.      The Motion is GRANTED as set forth herein.

        2.      Based upon the evidence presented to the Court, the record in this Case and the

 representations of counsel for the Parties, and the Court's analysis of the Settlement, the Court

 determines that, under the standards applicable within the Eleventh Circuit: (a) notice of the

 Motion and the hearing on the same was sufficient and proper under the circumstances and no

 other or further notice need be given; (b) parties in interest were given adequate opportunity to

 object; (c) the terms of the Settlement are fair and equitable; (d) the Parties have acted in good




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   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in
 the Motion.

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 faith; (e) it is in the best interest of the Debtor, the Estate, creditors and other parties in interest for

 the Trustee to enter into the Settlement; and (f) good cause exists for the entry of this Order

 approving the terms of the Settlement in its entirety.

         3.      The Settlement as set forth in the Motion and the Settlement Agreement attached

 to the Motion as Exhibit A is hereby approved, including, without limitation, all terms, provisions,

 rights and releases and any objection to the Trustee entering into the Settlement is hereby

 overruled.

         4.      The Trustee is authorized to enter the Settlement and to take any and all steps

 necessary, in the sole discretion of the Trustee, to consummate and perform under the terms of the

 Settlement.

         5.      This Court shall retain jurisdiction to resolve any and all disputes arising from this

 Order and the Settlement.

                                           [END OF ORDER]


 Prepared and Presented by:

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